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                       IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF UTAH

 HEATHER P. LOMMATZSCH, an
 individual,                                        CERTIFICATE OF SERVICE

                      Plaintiff,

               vs.

 TESLA, INC., a California Corporation,            Case No.: 2:18-CV-00775-DN-BCW
 TESLA MOTORS UT, INC., a Utah
 Corporation, and SERVICE KING                     Judge David Nuffer
 PAINT & BODY, LLC, a Texas Limited                Magistrate Judge Brooke C. Wells
 Liability Company DBA SERVICE
 KING COLLISION REPAIR,

                      Defendants.

         I hereby certify that a true and correct copy of the foregoing DEFENDANT TESLA,

INC.’S RULE 26(a)(1) INITIAL DISCLOSURES was served by U.S. mail and email on the




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following counsel on the 13th day of December 2018, as well as e - filing of this

CERTIFICATE OF SERVICE using this Court’s CM/ECF system:

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